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 4                                UNITED STATES DISTRICT COURT
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                                SOUTHERN DISTRICT OFtCALIFORNIA
 5
                                                                                                I
 6                                     April 2018 Grand Jury

 7   UNITED STATES OF AMERICA,                       Case No.    1'   CR 1 8 4 9 WQH
 8                   Plaintiff,                      I.!'!Qlf.I!'i§..!'!1'
 9         v.                                        TitlJ 18 U.S.C. § 844 (i) -
                                                     Malicious Damage to Building by
10   DANIEL HECTOR MACKINNON,                        Means of Fire
       aka Daniel Patrick Shelley,
11
                     Defendant.
12

13        The grand jury charges:

14        On    or    about    April   24,   2019,    within    the     Southern     District        of

15   California,       defendant    DANIEL      HECTOR     MACKINNON,    aka     Daniel    Patrick

16   Shelley,   did maliciously damage, by means of fire and explosive,                             the
17   building    and    real    property     known    as    Raytheon     Integrated       Defense,

18   8650 Balboa Avenue,          San Diego·,    California     92123,    which was       used in

19   interstate and foreign commerce, and in an activity affecting interstate

20   and foreign commerce;          in violation of Title 18,            United. States Code,

21   Section 844(i).

22        DATED:       May 21, 2019.
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28                                     ney

     JNP:nlv:San Diego:5/20/19
